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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

----------------------------------------------------------X
DIANA REYNOLDS and SANDRA HIGH,
Individually and on behalf of all others                    Case No. 17-cv-00170
similarly situated,

                                   Plaintiffs,                Hon. John J. Tharp, Jr.
                                                              Hon. Young B. Kim
                 v.

CHW GROUP, INC., d/b/a Choice Home
Warranty, a New Jersey Corporation,

                                    Defendant.
----------------------------------------------------------X
                              DEFENDANT’S UNOPPOSED MOTION
                                TO ADJOURN STATUS HEARING

        With agreement from Plaintiffs Diana Reynolds, et al. (“Plaintiffs”), Defendant CHW

Group, Inc. (“Defendant”), by its attorneys, moves to adjourn the status hearing currently

scheduled for February 28, 2019, at 10 a.m. CST.

        1.       On February 5, 2019, the Court ordered as follows:
        MINUTE entry before the Honorable Young B. Kim: Status hearing held by
        phone and continued to February 28, 2019, at 10:00 a.m. (C.S.T.) by phone.
        Parties are to use the same call-in information. Parties reported that they were
        unable to resolve this matter at the private mediation session but are still
        discussing settlement. Defendant also reported that if the case cannot be resolved,
        discovery should be stayed until Defendant can secure a ruling from the assigned
        District Judge on the issue of whether Defendant uses an automatic dialer.
        Plaintiffs disagree on staying discovery for that purpose. Parties are to exhaust
        their settlement efforts and timely raise the stay issue (if appropriate) with the
        assigned District Judge prior to the next status hearing.

ECF Dkt. No. 82.

        2.       Defendant writes to respectfully request that the continued status hearing be

adjourned until March 14, 2019, or as soon thereafter as the Court is available.
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        3.     The reason for the requested adjournment is to give the parties additional time to

 complete their settlement discussions. This additional time is necessitated by the fact that

 Defendant’s counsel has been dealing with a medical issue with respect to a member of his

 immediate family, which is requiring his travel and attention this week and next week.

Dated: February 21, 2019                Respectfully submitted,

                                        By:    /s/ Andrew J. Urgenson
                                               Andrew J. Urgenson (pro hac vice)
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                                               New York, NY 10013
                                               Tel. 212.226.2376

                                               /s/ John M. Dickman
                                               John M. Dickman
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                                               Attorneys for Defendant CHW Group, Inc.
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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on February 21, 2019, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send a Notice of Electronic Filing

to all counsel of record.

                                            /s/ Andrew J. Urgenson
                                            Andrew J. Urgenson
